                       IN THE UNITED STATES DISTRICT COURT FOR THE
                                                                                            Motion DENIED.
                               MIDDLE DISTRICT OF TENNESSEE
                                    NASHVILLE DIVISION

UNITED STATES OF AMERICA                       )
                                               )
VS.                                            )       Criminal No: 3:13-cr-00057
                                               )       MAGISTRATE GRIFFIN
DASHAWN LLOYD,                                 )


             MOTION FOR TEMPORARY RELEASE FROM CUSTODY
                          TO ATTEND FUNERAL


         Comes now the Petitioner, Dashawn Lloyd, by and through his attorney Erik R. Herbert

and respectfully requests this Honorable Court release the Defendant on his own recognizance

from January 2, 2014 to January 4, 2014 to attend the funeral of his father. As grounds;

         1. On December 24, 2013 the Defendant’s father, Clarence Lloyd, passed away in Los

Angeles, California.

         2. The funeral is being held on January 3, 2014 at 1:00 pm at the Broadway Community

Church located at 7329 South Broadway, Los Angeles California, 90003.

         3. The Petitioner has a third party custodian, Sheteka Nicole Jennings, who would be

accompanying the Petitioner from Nashville to California to attend the funeral and will return

with him.

         4. The Petitioner has researched several different flight options and requests this Court to

allow him to fly from Nashville on January 2 at 2:45 pm to Los Angeles and return on January 4

at 4:05 pm. While the Defendant is in Los Angeles he will be staying at the Renaissance Los

Angeles Airport Hotel which is located at 9620 Airport Boulevard, Los Angeles California,

90045.




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       5. The Defendant is willing to submit to whatever restrictions the Court requires to

ensure compliance with this limited release order. The Defendant is willing to wear a GPS

monitoring device during this temporary release and comply with any other restrictions this court

deems reasonable.

       Wherefore the Petitioner respectfully requests this Honorable Court release him from

custody on January 2, 2014 so he may attend his father’s funeral in Los Angeles where he will

return to custody on January 4, 2014 after returning from the funeral.



                                             Respectfully submitted,

                                             /s/ Erik R. Herbert_____________________
                                             Erik R. Herbert #018698
                                             222 Fourth Ave., North, Suite 100
                                             Nashville, TN 37219
                                             Phone: (615) 255-9595




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                           CERTIFICATE OF SERVICE

       The undersigned hereby certifies that the foregoing document has been
transmitted via the Court's electronic filing system to Assistant U. S. Attorney Lynne
Ingram, 110 9th Ave., S. Suite A-961, Nashville, TN 37203 on this the 30h of December
2013.

                                          /s/ Erik R. Herbert_________
                                             Erik R. Herbert




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